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                                               April 30, 2020


VIA ELECTRONIC FILING
The Honorable Edward S. Kiel, MJ
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

          Re: Malibu Media, LLC v. Nolan; 2:18-cv-13737-WJM-MF

Dear Judge Kiel:


       In response to this Court’s setting of an in person status conference for May 12 2020 @
11AM, I would respectfully ask this be postponed until after the Plaintiff’s Motion to Dismiss is
heard.
       In the alternative if the court could advise if the status conference could be held by
telephone.

                                             Very truly yours,

                                            /s/ Patrick J. Cerillo
                                              Patrick J. Cerillo




cc: Malibu Media, LLC
    Vincent Nolan




PJC: ADMITTED TO THE BAR OF THE STATE OF NEW JERSEY; ALSO ADMITTED TO FEDERAL DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY; ALSO A MEMBER OF THE BAR OF THE UNITED STATES SUPREME COURT.
